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                     EXHIBIT 91
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APPLICABLE_MANUFACTURER_OR_APPLICABLE_GPO_NA                        PHYSICIAN_MIDDLE_
ME                                             PHYSICIAN_FIRST_NAME NAME                PHYSICIAN_LAST_NAME
Teva Pharmaceuticals USA, Inc.                 MARISOL              E                   ARCILA
Teva Pharmaceuticals USA, Inc.                 MICHAEL              J                   BRENNAN
Teva Pharmaceuticals USA, Inc.                 MICHAEL              J                   BRENNAN
Teva Pharmaceuticals USA, Inc.                 MICHAEL              J                   BRENNAN
Teva Pharmaceuticals USA, Inc.                 MICHAEL              J                   BRENNAN
Teva Pharmaceuticals USA, Inc.                 JAMES                J                   CHOO
Teva Pharmaceuticals USA, Inc.                 ORLANDO              G                   FLORETE
Teva Pharmaceuticals USA, Inc.                 CHRISTOPHER                              GHARIBO
Teva Pharmaceuticals USA, Inc.                 CHRISTOPHER                              GHARIBO
Teva Pharmaceuticals USA, Inc.                 CHRISTOPHER                              GHARIBO
Teva Pharmaceuticals USA, Inc.                 CHRISTOPHER                              GHARIBO
Teva Pharmaceuticals USA, Inc.                 CHRISTOPHER                              GHARIBO
Teva Pharmaceuticals USA, Inc.                 JEFFREY              A                   GUDIN
Teva Pharmaceuticals USA, Inc.                 JEFFREY              A                   GUDIN
Teva Pharmaceuticals USA, Inc.                 MICHAEL              C                   HANES
Teva Pharmaceuticals USA, Inc.                 FRANCISCO            G                   JUDILLA
Teva Pharmaceuticals USA, Inc.                 PARVEN                                   KHANNA
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Teva Pharmaceuticals USA, Inc.                   CHRISTOPHER          ROBERT           MANEES
Teva Pharmaceuticals USA, Inc.                   JUSTIN                                MANN
Teva Pharmaceuticals USA, Inc.                   MONIKA               Y                PATEL
Teva Pharmaceuticals USA, Inc.                   KENNETH              A                POWELL
Teva Pharmaceuticals USA, Inc.                   SCOTT                N                SCHIMPFF
Teva Pharmaceuticals USA, Inc.                   CLAUDIO              E                VINCENTY
Teva Pharmaceuticals USA, Inc.                   HAITAO                                ZHANG
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PHYSICIAN_NAME RECIPIENT_PRIMARY_BUSINESS_STREET_AD RECIPIENT_PRIMARY_BUSINESS_                  RECIPIENT_
_SUFFIX        DRESS_LINE_1                         STREET_ADDRESS_LINE_2         RECIPIENT_CITY STATE
               115 PROFESSIONAL DR STE 104                                        PONTE VEDRA BEAFL
               140 SHERMAN ST STE 2                                               FAIRFIELD      CT
               140 SHERMAN ST STE 2                                               FAIRFIELD      CT
               140 SHERMAN ST STE 2                                               FAIRFIELD      CT
               140 SHERMAN ST STE 2                                               FAIRFIELD      CT
               575 OAK RIDGE TPKE STE 110                                         OAK RIDGE      TN
JR.            3716 UNIVERSITY BLVD S STE 1                                       JACKSONVILLE   FL
               333 E 38TH ST FL 6                                                 NEW YORK       NY
               333 E 38TH ST FL 6                                                 NEW YORK       NY
               333 E 38TH ST FL 6                                                 NEW YORK       NY
               333 E 38TH ST FL 6                                                 NEW YORK       NY
               333 E 38TH ST FL 6                                                 NEW YORK       NY
               350 ENGLE ST                                                       ENGLEWOOD      NJ
               350 ENGLE ST                                                       ENGLEWOOD      NJ
               10475 CENTURION PKWY N STE 201                                     JACKSONVILLE   FL
JR.            3716 UNIVERSITY BLVD S STE 1                                       JACKSONVILLE   FL
               10250 NORMANDY BLVD UNIT 703                                       JACKSONVILLE   FL
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280 DUNDAS DR                                                JACKSONVILLE   FL
10475 CENTURION PKWY N STE 201                               JACKSONVILLE   FL
655 W 8TH ST                                                 JACKSONVILLE   FL
2700 RIVERSIDE AVE STE 2                                     JACKSONVILLE   FL
2700 RIVERSIDE AVE STE 2                                     JACKSONVILLE   FL
10475 CENTURION PKWY N STE 201                               JACKSONVILLE   FL
11555 CENTRAL PKWY STE 304                                   JACKSONVILLE   FL
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                                                                            NAME_OF_DRUG_OR
                                                                            _BIOLOGICAL_OR_DE
                      RECIPIENT_C                PHYSICIAN_LICENSE_STATE_AN VICE_OR_MEDICAL_S TOTAL_AMOUNT_OF_
RECIPIENT_ZIP_CODE    OUNTRY      PHYSICIAN_NPI D_LICENSE_NUMBER_1          UPPLY_1           PAYMENT
32082                 US              1972708584 FL-ME98859                 HYDROCODONE                  118.57
06824                 US              1538117049 CT-32201                   VANTRELA                     512.60
06824                 US              1538117049 CT-32201                   VANTRELA                     395.72
06824                 US              1538117049 CT-32201                   VANTRELA                     167.10
06824                 US              1538117049 CT-32201                   VANTRELA                    2500.00
37830                 US              1396935227 TN-44914                   HYDROCODONE                   12.50
32216                 US              1104922541 FL-ME00058430              HYDROCODONE                  118.57
10016                 US              1073500013 NY-194152                  VANTRELA                    2500.00
10016                 US              1073500013 NY-194152                  VANTRELA                     702.32
10016                 US              1073500013 NY-194152                  VANTRELA                     381.06
10016                 US              1073500013 NY-194152                  VANTRELA                     249.48
10016                 US              1073500013 NY-194152                  VANTRELA                     257.96
07631                 US              1831133420 NJ-25MA07042200            VANTRELA                    2500.00
07631                 US              1831133420 NJ-25MA07042200            VANTRELA                     630.47
32256                 US              1760708473 FL-ME121093                HYDROCODONE                  118.57
32216                 US              1174527972 FL-ME108232                HYDROCODONE                  118.57
32221                 US              1558346106 FL-ME87424                 HYDROCODONE                  118.57
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32218    US             1528276771   FL-ME121992           HYDROCODONE                     118.57
32256    US             1790075703   FL-ME128030           HYDROCODONE                     118.57
32209    US             1932428380   FL-ME124284           HYDROCODONE                     118.57
32205    US             1992824007   FL-OS 10548           HYDROCODONE                     118.57
32205    US             1376740191   FL-ME115646           HYDROCODONE                     118.57
32256    US             1285604793   FL-44593              HYDROCODONE                     118.57
32224    US             1679716344   FL-ME120029           HYDROCODONE                     118.57
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                                                                                           NATURE OF PAYMENT OR TRANSFER OF VALUE
                                                                                           "1" = Consulting Fee;
                                                                                           "2" = Compensation for services other than consulting, including
                                                                                           serving as faculty or as a speaker at a venue other than a continuing
                                                                                           education program;
                                                                                           "3" = Honoraria;
                                                                                           "4" = Gift;
                                                                                           "5" = Entertainment;
                                                                                           "6" = Food and Beverage;
                                                                                           "7" = Travel and Lodging;
                                           FORM OF PAYMENT OR TRANSFER                     "8" = Education;
                                           OF VALUE                                        "9" = Charitable Contribution;
                                           "1" = Cash or cash equivalent;                  "10" = Royalty or License;
                                           "2" = In-kind items and services;               "11" = Current or prospective ownership or investment interest;
                                           "3" = Stock;                                    "12" = Compensation for serving as faculty or as a speaker for a non-
                                           "4" = Stock option;                             accredited and noncertified continuing education program;
                                           "5" = Any other ownership interest;             "13" = Compensation for serving as faculty or as a speaker for an
                                           "6" = Dividend, profit or other return on       accredited or certified continuing education program;
                  NUMBER_OF_PAYMENTS_INC   investment                                      "14" = Grant;
DATE_OF_PAYMENT   LUDED_IN_TOTAL_AMOUNT                                                    "15" = Space rental or facility fees (teaching hospital only);
20170111          1                        2                                               6
20170331          1                        2                                               7
20170331          1                        2                                               7
20170331          1                        2                                               7
20170331          1                        1                                               1
20170102          1                                                                    2                                                                      6
20170111          1                        2                                               6
20170211          1                        1                                               1
20170211          1                        2                                               7
20170211          1                        2                                               7
20170211          1                        2                                               7
20170211          1                        2                                               7
20170505          1                        1                                               1
20170505          1                        2                                               7
20170111          1                        2                                               6
20170111          1                        2                                               6
20170111          1                        2                                               6
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20170111   1                       2                          6
20170111   1                       2                          6
20170111   1                       2                          6
20170111   1                       2                          6
20170111   1                       2                          6
20170111   1                       2                          6
20170111   1                       2                          6
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                           THIRD_PA
                           RTY_PAY
                           MENT_RE
                   COUNTRY CIPIENT_I NAME_OF_THIRD_PARTY_ENT
CITY_OF_ STATE_OF _OF_TRA NDICATO ITY_RECEIVING_PAYMENT_OR
TRAVEL     _TRAVEL VEL     R         _TRANSFER_OF_VALUE
                           3
St Louis MO        US      3
St Louis MO        US      3
St Louis MO        US      3
                           3
                           3
                           3
                           3
Scottsdale AZ      US      3
Scottsdale AZ      US      3
Scottsdale AZ      US      3
Scottsdale AZ      US      3
                           3
Fort Laude FL      US      3
                           3
                           3
                           3
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